                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                            CASE NO. 5:20-CV-230-BO

CAMERON CAIN-BAARBÉ, individually and           )
as the representative of the ESTATE OF          )
ALEXANDER PINCZOWSKI; JAMES                     )
PALMER CAIN; and HELEN REVELLE CAIN;            )
                                                )
RON GREENFIELD; PNINA GREENFIELD;               )
LIRON SHALOM GREENFIELD; SHERE                  )
GREENFIELD; GILI GREENFIELD; and SHYE )
GREENFIELD;                                     )
                                                )
CARYN OR TSADOK ORBACH and URI                  )
ORBACH, individually and as the                 )
representatives of the ESTATE OF EREZ           )
ORBACH and on behalf of their minor children    )
A.O., E.O., and O.O.; EITAN ORBACH; and         )
ALON ORBACH;                                    )
                                                )
EYTAN YAIR RUND and TAMAR BRACHA                )
RUND, individually and on behalf of their minor )
children S.A.R., H.H.R., and Y.M.R.;            )
                                                )
NITZACHYA GOLDMAN, individually and as          )
the representative of the ESTATE OF             )
AVRAHAM GOLDMAN; GILA                           )
NISSENBAUM; NATAN GOLDMAN; MAYA )
GOLDMAN COHEN; SHARON GOLDMAN                   )
NAJMAN; YOSEF GOLDMAN; ISRAEL                   )
GORENZKY; and TAMAR CHORESH;                    )
                                                )
BEATRIZ GONZALEZ, individually and as the )
representative of the ESTATE OF NOHEMI          )
GONZALEZ; JOSE HERNANDEZ; REY                   )
GONZALEZ; and PAUL GONZALEZ,                    )
                                                )
                        Plaintiffs,             )
                                                )
                        v.                      )
                                                )
THE SYRIAN ARAB REPUBLIC,                       )
                                                )
                       Defendant.               )




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                           MOTION TO WITHDRAW AS COUNSEL

         NOW COMES Christopher S. Battles (“Mr. Battles”) formerly of Shanahan Law Group,

PLLC, counsel to Plaintiffs, and hereby moves the Court to withdraw as counsel for Plaintiffs. In

support of his motion, Mr. Battles shows the Court as follows:

         1.      Mr. Battles entered his appearance on June 2, 2020 as counsel for Plaintiffs.[ECF

No.36]

         2.      Mr. Battles left the firm of Shanahan Law Group, PLLC and the above captioned

matter will continue to remain with Shanahan Law Group, PLLC and The Berkman Law Office,

PLLC. As such, Kieran J. Shanahan and Robert J. Tolchin will remain as counsel for Plaintiffs.

         3.      Default was entered against Defendant The Syrian Arab Republic on February 25,

2022. [ECF No. 55]

         4.      This motion is made in good faith and will not be prejudicial to any parties or delay

the proceedings.

         WHEREFORE, Mr. Battles prays the Court to grant his withdrawal as counsel for

Plaintiffs.

       This the 26th day of July, 2022.

                                                       SHANAHAN LAW GROUP, PLLC

                                             By:          /s/ Christopher S. Battles
                                                       Kieran J. Shanahan, NCSB# 13329
                                                       Christopher S. Battles, NCSB# 42682
                                                       128 E. Hargett Street, Suite 300
                                                       Raleigh, North Carolina 27601
                                                       Telephone: (919) 880-8258
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                                                       cbattles@shananlawgroup.com
                                                       Local Rule 83.1 Counsel
                                                       Attorneys for Plaintiffs




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                              CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Motion to Withdraw as Counsel was electronically
filed this 26th day of July, 2022 with the Clerk of Court using the CM/ECF system. Parties may
access this filing through the Court’s Electronic Filing System. A copy has been placed in the
United States Mail, First Class, postage prepaid and addressed as follows:

                            The Syrian Arab Republic
                            c/o Foreign Minister Walid al-Muallem
                            Ministry of Foreign Affairs
                            Next to al-Assad University Hospital
                            Next to Presidency of the Counsel of Ministers Building
                            Kafar Soussa, Damascus Syria

                                                  SHANAHAN LAW GROUP, PLLC

                                         By:         /s/ Kieran J. Shanahan
                                                  Kieran J. Shanahan, NCSB# 13329
                                                  Christopher S. Battles, NCSB# 42682
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                                                  cbattles@shanahanlawgroup.com
                                                  Local Rule 83.1 Counsel
                                                  Attorney for Plaintiffs

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